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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

PATRICIA WALKER-SWINTON                                                              PLAINTIFF

v.                                    Case No. 4:18-CV-886 (KGB)

PHILANDER SMITH COLLEGE, AND
DR. RODERICK SMOTHERS, SR., PRESIDENT,
IN HIS INDIVIDIAL AND OFFICIAL CAPACITY,
AND DR. ZOLLIE STEVENSON, JR., VICE-PRESIDENT,
ACADEMIC AFFAIRS, IN HIS INDIVIDIAL AND
OFFICIAL CAPACITY                                                                  DEFENDANTS



 PLAINTIF’S RESPONSE TO DEFENDANT’S MOTION FOR PROTECTIVE ORDER


       Comes now Plaintiff, by and through her attorney Teresa Bloodman and, for her

Response states:

       1. To date, the Parties have not requested documents that are confidential or

privileged. Any employee or student files, if later requested, will be redacted.

       2. The defendants failed to cite any authority for the basis of their Motion as

required by Local Rule 7 and the motion should be denied.

       3. The defendants have failed to inform the Court of the specific documents

they deem as confidential.

       4. On January 28, this Court entered an Order for Defendants to respond to the

discovery requests up to and including January 31, 2020.

       5. The Defendants failed to Comply with the Court’s Order and provided deficient

responses.

       6. Even after the defendants failed to comply with the Court’s deadline of January 31,


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2020, the Plaintiff requested that defendants provide the untimely and deficient responses by

February 7, 2020. Defendant did not provide the deficient discovery and have still not

supplemented their deficient responses. Additionally, the defendants did not provide a protective

log by February 14, 2020, as they previously advised the Court in their frivolous Emergency

Motion to Quash Depositions – filed after depositions were previously cancelled. (Dkt. 58) On

February 25, 2020, after deponent Watson’s deposition, Mr. Mehdizadegant tossed a deficient

Privilege Log across the table to Plaintiff’s counsel. The log lists 11 deemed privilege documents

-emails (Ex 1) However, the Defendants objected to each request in their Responses to Plaintiff’s

First Set of Requests for Production of Documents. None of those requested items are listed on

the log. On February 28, 2020, during deposition of Ms. Walker-Swinton, Mr. Mehdizadegan

presented a few email exhibits not previously provided in responses to interrogatories and

requests for production of documents, which he previously objected to as confidential and

privilege documents. Of the Interrogatories and Requests for Production of Documents

propounded to Defendants, the only partial response provided was a deficient personnel file of

Ms. Walker-Swinton. The untimely and deficient responses to the First Set of Interrogatories

and the First Set of Requests for Production of Documents have still not been provided or

supplemented by the defendants.

         7. Entry of the protective order will further prejudice the Plaintiff.

         WHEREFORE, the Plaintiff objects to the entry of the defendant’s proposed protective

order.




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                                  Respectfully submitted,


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